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                       EXHIBITB
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    AO •l~O (Rev. 06/12) S.111nmo\\S i1111 Civil Action
                           .                       ..        ========
                                                 UNITED STA TES DISTRICT COURT
                                                                                  for the
                                                                   Western District of Pennsylvania




                                                          LLP
                                    I' /ainl/f.f(I)
                                          V.                                                Civil Action No.     19-- 1682




             Al<st1ita Bsnerjee and Sumantn Banerjee _ _ _
                                   Dqf'r.ndcmt(;)

                                                                  SOMMONS JN A CIVIL ACTION

    To: (D~fimdc1111 ·.,· name and (Jc/c/re;·.1)


                                                        Sumantrn Banerjee
                                                        1514 Cool< School Road
                                                        Pillsbu1·g11, PA 15241

               A lawsl.lit has been filed against you.

             Within 2 I days after service of this summons on you (not counting the day you received it)--· or 60 days if you
    are the United States or a United States agency, or an officer 01· employee of the United States cleseribcd in Fed. R. Civ.
    P. 12 (a)(2) or (3) -- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served 011 the plaintiff or plaintiff's a!torncy,
    whose name and address are:

                                                        Meyer, Unl<ovic & Scott
                                                        Katelin J. Montgomery
                                                      535 Srnitllfield Street, Suite 1300
                                                      Pittsburg 11, PA i 5222

            Jf you fail to respond, judgment by defoult wi 11 be entered against you for the relief demanded in the com pl aint.
    You also must file your answer or motion with the court.



                                                                                               CLERK OF COURT



12/31/2019
Date                                                                                          Signature of Clerk or Deputy Clerk
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AO ~40 (Rev. 06/1?.) Summo11s inn Civil Acri on (Poge 2)

 Civil Action No.

                                                                     PROOF OF SERVICE
                         (This section should not be fifed with the court unless requirer! by Fed. R. Civ. P. 4 (!))

           This summons for (name of individual and tirle, if any) ....5.\.J.\'Y).t\.v.\iV.>b.....\:1;,J,,.Y::t.('.:<:J..<2.(L......
 was received by me on (date)               ·--····· \ .. • i·,10._ .............


           D J personally served the summons on the individual at (pl,w//)
                                                                                             on (date)                                 ; or

           1s;i·~ .!~f1J!!,C su,mmons
          ,12.\,,,\,~s,,h,\l
                                              at the in~(i':'idu~l
                               1,,,+v ·'u·<-'.0-{()~1~<'1"''                                                          "'\<··
                                                              c,,:\ 's residence or usual place of abode with (name) .1::,,         \,i ·h 'y· ,.n;,, 1,1):>
                                                                                                                           ..... ;:,. .....~ .... 1
                                                                                                                                               ,lQ,L\~.>:,.\'.,.,

          .. \S.\~L~'.Jh\<.,.::ii\ht..i.\.\s!., 1.J\\\•;b,Hjh/Ji\.1;0.'// Pperson of suitnble age and discretion who resides there.,
            on (date) \·\\> . 0,0_Q/. 'nlbj\Nk., and mailed a copy to the individual's last known address; or

           CJ I served the summons on (name 11fi11divid11al)                                                                                    ,   who i.s
            designated by Jaw to accept service of process on behalf of (name o.forganlzm/011)
                                                                                             on   (date)                               ; or

           0 l returned the summons unexecutcd because                                                                                                 ; ())'

           CJ Other (specify):




           My fees are$                                  for trnvel an.d $                         for ~el'vices, for a totnl of$             0.00


           J declnre uudet penalty of pe1:1u1y that this information is true.



Date:     ..... l.-· \ D··.°' t, ....                                       _,_. _____ - ... - ~1\-:-'-,=/
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                                                                                                           Ser11er ',y addre,}·s


Additional information regarding attempted service, etc:
